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5     and as Trustee of WFT-TNG, a California Trust
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      individually and as Trustee of The Martha
11    Kongsgaard GST Exempt Trust U/T/A Dated
      October 21, 1993, and Peter Goldman
12

13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15

16   FRANCIS WANG, individually and as            Case No. 3:19-cv-00907
     Trustee of WFT-TNG, a California Trust,
17
     and LAURA YOUNG, individually and as         JOINT STATUS REPORT
18   Trustee of WFT-TNG, a California Trust

19         Plaintiffs,

20                        v.
21
     MARTHA KONGSGAARD, individually
22   and as Trustee of The Martha Kongsgaard
     GST Exempt Trust U/T/A dated October 21,
23   1993, PETER GOLDMAN, AL CZAP, and
     BRIAN PELETTA,
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          Defendants.
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                                          JOINT STATUS REPORT
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1           The parties to the above-entitled action jointly submit this JOINT STATUS REPORT,

2    pursuant to this Court’s May 15, 2019 order staying the action pending the state court

3    proceedings and March 23, 2021 order setting September 3 as the deadline for a joint status

4    report. See Dkts. 29, 57.

5           Because the initial trial in the state court proceedings will be held next week, including

6    on September 10, the date scheduled for a status conference before this Court, the parties

7    respectfully ask the Court to reschedule the status conference.

8           The parties continue to litigate the state court proceedings in Napa County Superior

9    Court. See Kongsgaard v. Wang, Case No. 19CV000286. The court will hold an initial trial

10   beginning October 18, 2021, focused solely on Mr. Wang and Ms. Young’s claim for specific

11   performance, including the existence of an enforceable contract for their purchase of a 12-acre

12   parcel from Ms. Kongsgaard, breach, and the availability of specific performance, along with

13   any contract defenses. The court’s findings in that initial trial will be binding on the fact finder in

14   subsequent proceedings in the state court case and will impact whether and in what form the

15   court holds further trial proceedings.

16          Plaintiffs and Defendants discussed the court’s jurisdiction, underlying facts, legal issues,

17   and other matters required in Joint Case Management Statements pursuant to the Standing Order

18   for All Judges of the Northern District of California in the Joint Status Report filed as docket

19   number 31 and therefore do not repeat that information here. Because the case is stayed, the

20   parties do not view alternative dispute resolution as appropriate at this time. And because the

21   stay remains in place, the time for the more recently added Defendants—Peter Goldman, Albert

22   Czap, and Brian Peletta—to answer or otherwise respond to the amended complaint and to file

23   any counterclaim or crossclaim has not yet begun. See Dkts. 48, 51, 53

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28                                            JOINT STATUS REPORT
                                               Case No. 3:19-cv-00907
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1    Dated: September 2, 2021                            By:

2                                                        /s/ Jason M. Skaggs
                                                         Jason M. Skaggs
3                                                        Counsel for Plaintiffs
4

5
     Dated: September 2, 2021                            By:
6
                                                         /s/ Timothy M. Flaherty
7                                                        Timothy M. Flaherty
                                                         Counsel for Defendants Martha Kongsgaard
8                                                        and Peter Goldman
9

10          I hereby attest that I have obtained concurrence in the filing of this document from all

11   other signatories.

12          _/s/ Jason M. Skaggs
              Jason M. Skaggs
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                                          JOINT STATUS REPORT
                                           Case No. 3:19-cv-00907
